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 4
     Attorney for Defendant
 5   ARMANDO ESPINDOLA

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,               )
                                             )       2:09-cr-00380-03 WBS
11                              Plaintiff,   )
                                             )       STIPULATION AND [PROPOSED] ORDER
12   v.                                      )       TO CONTINUE ADMIT/DENY HEARING
                                             )
13                                           )
     ARMANDO ESPINDOLA,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
              Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jeremy J. Kelley, and defendant, Armando
19
     Espindola, by and through his counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for admit/deny hearing, February 16, 2016 at 9:00
21
     a.m., in the above-captioned matter, and to continue the admit/deny hearing
22
     to April 11, 2016 at 9:00 a.m. in the courtroom of the Honorable William B.
23
     Shubb.
24
              The reason for this request is that the parties have determined
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     resolution of this matter should follow the state matter that underlies the
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     sole violation of supervised release alleged, and the next court appearance
27
     in the state case is in March, 2016.        The court is advised Mr. Kelley and
28



                                     Stipulation and Order - 1
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 1   United States Probation Officer Jose Figueroa concur with this request and

 2   Mr. Kelley has authorized Ms. Radekin to sign this stipulation on his behalf.

 3            Accordingly, the parties respectfully request the Court adopt this

 4   proposed stipulation.

 5   IT IS SO STIPULATED.

 6   Dated: February 12, 2016                       BENJAMIN WAGNER
                                                    United States Attorney
 7
                                            By:      /s/ Jeremy J. Kelley
 8                                                  JEREMY J. KELLEY
                                                    Assistant United States Attorney
 9

10   Dated: February 12, 2016                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
11                                                  Attorney for Defendant
                                                    ARMANDO ESPINDOLA
12

13
                                            ORDER
14
              For the reasons set forth in the accompanying stipulation and
15
     declaration of counsel, the admit/deny hearing date of February 16, 2016 is
16
     VACATED and the above-captioned matter is set for admit/deny hearing on April
17
     11, 2016 at 9:00 a.m.
18
     IT IS SO ORDERED.
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     Dated:     February 12, 2016
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                                     Stipulation and Order - 2
